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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JAMES J. SIMMONS and                   )
KEISHA S. SIMMONS,                     )
                                       )
       Plaintiffs,                     )
                                       )
v.                                     )
                                       )
FAY SERVICING, LLC, KML                )       Case No. 3:21-cv-01742-MEM
LAW    GROUP,  P.C.,  and              )
WILMINGTON SAVINGS FUND                )
SOCIETY, FSB, NOT IN ITS               )
INDIVIDUAL CAPACITY, BUT               )
SOLELY AS TRUSTEE OF                   )
NYMT LOAN TRUST I,                     )
                                       )
     Defendants.                       )

                         CERTIFICATE OF SERVICE

      I, Grace M. Deon, do hereby certify that on the 28th day of January, 2022, I

served a true and correct copy of Defendants’, Fay Servicing, LLC and Wilmington

Savings Fund Society, FSB, not in its individual capacity, but solely as trustee of

NYMT Loan Trust I, Answer with Affirmative Defenses and my Entry of

Appearance, via electronic filing/ECF upon the following, by and through their

counsel of record:




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                                     EASTBURN AND GRAY, P.C.

Dated: January 28, 2022           By:
                                     Grace M. Deon
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